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  AO 242 (12/11} Petition fDr a Writ of Habeas CotpUS Under 28 U.S.C. § 2241


                                          ·UNITED STATES DISTRICT COURT
                                                                               forthe ·
                                                                  STATE OF OREGON

                                                                                 )
                                                                                 )
  Carlos Arturo Vasquez-Maldonado                                                )
                                 Petitioner                                      )
                                     v.
                                                                                 )
                                                                                 )     CaseNo.
                                                                                                    3:19-cv-00075-AA
                                                                                 )                        (Supplied by Clerk ofCourt)
                                                                                 )
  J. Salazar, Warden                                                             )     Evidentiary Hearing Requested
                           Respondent                                            )
  (name ofwarden or authorized per~on having custody ofpetitioner)


                           PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2241
                                                                  Personal Information

  1.       (a) Your full name:                             Carlos Arturo Vasquez-Maldonado
           (b) Other names you have used:                        N.A.
 ·2.       Place of confinement:
            (    N           .
         . a). ame.ofinstitlition:
                                  • .                Federal Carree tional Ins ti tu tion - Sh~_r;i,_dan .
                                     _ _ _ _ _ _ _ _ _-~ -.:c:--· .___
                                                                     .. _. ___ - - , - ~ - - - - - - - - -
           (b) Adch'ess:· ··     P. 0. Box 5000
                                    Sheridan, OR 97378-5000
           (c)_y~ur_ ident!fication number:        51340-018
~-tre11m'e~~~be.kkmi=0m~.ct)b)¥s':e==================~=====
           lOFederal authorities                 □ State    authorities              0 Other - explain:


  4.     -. Are you currently:
           OA pre1rial detainee (waiting for trial on criminal charges)
          :lg Serving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
              If you are currently serving a sentence, provide:
                    (a) Nameandlocationofcourtthatsentencedyou:                 Sam M. Gibbons US CourtHouse
                     Middle District, 801 N. Florida Ave, Tampa FL 33602
                     (h) Docketnumberofcriminalcase:      8: 09-CR-00493-VMC-TBM-2
                     (c) Date of sentencing: NOVEMBER 6r -,December of 2011
           □ Being held on-an        immigration charge .
         . OOther (explain):




                                                                                                              ••   £   ,,   )-   --




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                                                    Decision or Action Y011 Are Challenging

5.        What are you challenging in this petition:
          □ How your sentence is being carried out, calculated, or credited by prison or parole authorities (for example.
           revoca:tio1for calculation of good time c.redits)
         dPretrial detention
         0 Immigration detention
          □ Detainer
          □ Thevalidity of your conviction or sentence as imposed (for example, sentence beyond the statutozy
           maximmn or improperly calculated under the sentencing guidelines)
         ~Disciplinary proceedings
          □ Other (explain):




6.        Provide more information about the decision or action you are challenging:
          (a} Name and location of the agency or court:

          (b) Docket number, case number, or opinion number:
          (c) Decision or action you are challenging (for disciplinary proceedings, ~cify the penalties imposed):
        Disci-plin~ry proceedings .-. Action took by DHO : Disallowance of 41
      --Days of Good Conduct ~tn~·;-·-21 days Disciplinary Segregation; 1 Year.
        loss of visits ~rtd $100 Monetary Fine
          (cD.Dateofthedecisionoraction: Dece~ber 5, 2017 (However their is a
           discreprenancy and th e OHO s reportsstates December 7, 2017 - This
         i s mQr e t ban a .cl.~cffri~rli~ri&-:11~igel1~tlfr15~7io;=tl.A~~~ t j_QI=Hiemcms-tr-ates) •

7.       First appeal
         Did you appeal the decision, file a grievance, or seek an administrative remedy?
         ~Yes                            □ No
         (a) If "Yes,tt provide:
                     (1) Nameoftheauthority, agency, or court:of Prisons agency Bureau
                     Western_ Regional Office in Stockton Californ&~n
                    (2) Dateoffiling: I mailed my BP..,10 to the Region on January 10, 2018.
                     (3) Docket number, case nun:iber, or opinion number:                 9 2 6 8 7 0 - R1
                     (4) Result:                 Denied                                  --------~------
                     (5) Date of result:
                                     Staff representative not allowed to review evidence, Hearing
                     (6) Issues raised:
                    date .that was reported was erroneous; The DHO held my silence against me;
                    Staff representative had insufficient time to prepare me a defense; My
                    cellmate who lived in·the cell with me claimed responsibility for the
                    pen (which was found in the general area of our cell.


                                                                           ======================----- .
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         (b) If you answered "No," explain why you did not appeal:



8.       Second appeal
         After the first appeal, did you file a second appeal to a higher authority, agency, or court?
         ~Yes                     ONo
         (a) If "Yes," provide:
                    (1) Name of the authority, agency, orcowt:                   General Couns~l in Washington D.C.

                    (2) Date of filing:        I mailed my BP-11 May 01, 2018
                    (3) Docket number, case number, or opinion number: ____9_26_8_7_0_-_Al
                                                                                        _ _ _ _ _ _'--_
                    (4) Resul~      My appeal was denied
                    (5) Date of result:   June 12, 2018
                    (6) Issues raised: The hearing date reported by the DHO was erroneous (The
                  .. result of which is not harmless). My staff representative did not have
                     an opportunity to review the eyidence prior to the hearing;My cellmate
                     took_il,!.ll:::r:~spo:psibii~ty for:--the pen in his regional appeal, no. 9.30834-R2.




         (b) If you answered "No," expFaih wttry&nnd not file a second appeal:



9.       Third ~ppeal                                                          .
         After the second appeal, did you file a third appeal to a higher authority, agency, or court?
         □ Yes                 bNo
         (a) If"Yes;' provide~
                    (1) Name of the authority, agency, or court: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


                    (2) Date offiling:
                    (3) Docket number, case number, or opinion number:
                    (4) Result:
                    (5) Date of result:
                    (6) Issues raised:




                                                                                                                      ""·-   -·   -~




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               (b) If you answered ''No," explain why you did not file a third appeal:
                   There is not a·third appeal level. H0wever, I did sfufumit a letter to the
                   general couns~l asking them to re-consider their response to:my BP-11 in
                                         lieu of tfie relief they granted.to my cellmate.
10.           Motion under28U.S.C. §2255  See Attachment B.          . .
              In this petition, are you challenging the validity of your conviction or sentence as imposed?
              □Yes                        IXJNo
              If "Yes," 8IlS'\1Yer the following:
              (a)     Have you already :filed a motion under 28 U.S.C. § 2255 that challenged this conviction or sentence?
                          □ Yes                       ONo
                           If ''Yes," provide:
                           (1) Nanie of court:
                           (2) Case number:
                                                    ------------------.----------
                           (3) Date of filing: - - - . . . , - - - - - - - - - - - - - - - - - - - -
                           (4) Result: _
                                           -----------------------------
                            ( S) Date of result:
 • .L_:.::.._- -, ~. ~-   · (6)' Issues raised: ·                                                   .;.-:::.
                                                    ----------------,-------------




              (b)          Have you ever filed a Il:lotion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                           seeldng pennission to file a second or successive Section 2255 motion to challenge "this conviction or
                           sentence?
                          □ Yes                       ~No
                          . If "Yes," provide:
                           (1) Name of court:
                           (2) Case number:
                                                    ---------------------------
                           (3) Date of filing:
                           (4) Result:
                                                    ------------------------------
                           (S) Date of result:
                           (6) Issues rmsed:
                                                    ---------------------------



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           (c)       Explam why the remedy under 28 U.S.C. § 2255 is inadequate or ineffective to challenge your
                     conviction or sentence: § 2255 is inadequate because I arp. chall~nging the
                     carrying out of my sentence in ,this 224'1 motion. I am not challenging my
                     sentence, conviction nor am I asking for a vacation of either.




11.       Appeals of bnmigration proceedings._
          Does thls case concern immigration proceedings?
          □ Yes                  ~No·
                  If "Yes," provide:
          (a)     Date yqu were taken into hnmigration custody:·
          (b)               of
                  Date the removal or reinstatement order:
                                                                                ------------------
                      '                                    '

          (c)_.   Did you file an appeal with the-Board.of Immigration A~~s?.                                 ·-·   .   - ·. ·- . .   .... . .   ";.-..

                    □ Yes                              □ No
                     J.f "Yes," provide:
                     (1) Date of filing:
                     {2~ Case-numb .
                     (3) Result:
                     (4) Date of result:
                     (5). Issues raised:
                                              ----------------------:-------




          (d)        Did you appeal the decision to the United States Court of Appeals?
                    □ Yes                              □ No
                     If "Yes," provide:
                     (1) Name of court:
                     (2) Date of filing:
                                              ---------------------------
                     (3) Case number:

                                                                                                                                  _---   ____ _
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                    (4) Result:
                    (5) Date of result:
                    (6) Issues raised:




 12.      Other appeals
          Other than the appeals you listed abov~, have you filed any other petition, application, or motion about the issues
          raised in this petition?
          □ Yes                        XJNo
          If''Yes," provide:
          (a) Kind of petition, motion, or application:
          (b) Name of the authority, agency, or court:


          (c) Date of :filing:
          (d) Docket number, case number, or opinion number:
          (e) Result: - ·                                    • .&-r,i;:..,;, . ~. --
          (f) Date of result
          (g) Issues raised:




                                              Grounds for Your Challenge in This Petition
 13.      State every ground (reason) that supports your claim that you are being held in violation ofthe Constitution,
          laws, or treaties of the United States. Attach additional pages if you have more than four grounds. ~tate the
          facts supporting each ground.


        GROUND ONE: I was denied due process when I received inadequate assistance from
         my staff representative in marshaling evidence and presenting a defense, resulting
         in me being denied a meaningfuFopportunity to be heard before the Discipline
         Hearing Officer.



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         .(a) Supporting facts (Be br.ief. Do not cite coses or law.):
           On November_-26, 2017 at approximately 10:35 a.m., I received an incident report
           that was written by a Bureau                         of Prisons employee at Federal Correctional Institution,
           S.ES D. Prock. The inc.ident                         report .stemmed from an incident that occured on November
           25; 2017 at around 6:45 p.m.                         S.I.S. D. Prock stated the following in the incident
           report'§ 11:
                                    See                         continuation page
         (b) Did you present Ground One _in all appeals that were available to you?
         fflYes                         □ No

       GROUNDTW0:       The OHO was bias with respect to the factual issues that were
           adjudicated before him.


         (a) Supporting facts (Be brief. Do wt cite cases or law.):
               I appeared before the DHO on December 05, 2017 in relation to an incident
          report
           '     .
                   I received (I Sf't out such facts-in GROUND ONE). However the DHO stated           .


          in his report dated.·u0c.ember 20~ 2017. that me and Mr. toombs. my staff
          representative, .appea:red b2fore him on December 07 ~ 2017. This is factually
          inaccurat~- My c§:l~-rp.ate can··c-on.fifm this 2 as we}) as my c.~l.km9_t_e s., VM. Abm'="="'---
                                                                                      I


         _#14632-023, staff representative 1 Mr. Lyons. My cell-mate also ·appeared before
          the DHO along with tv".tr. Lyons on December 05 2 2017.     See attad1111ent.
         (b) Did you present Ground Two in all appeals that were available to you?
        tJYes                           □ No


     GRO~TBREE: The Gen~ral Counsel's Office in Washington D.C. denied
     me equal protection and fair and impartial treatment during the
     adjudication prnc·edur~s of my BP-11 administrative remedy.

         (a) Supporting facts (Be brief. Do not cite cases o.r law.):
         On January 10, 2018 I submitted an administrative remedy commonly
         referred to as a BP~lo, to the Western Regional Office in Stockton
         California. This was an appeal from Incident report # ,,3060267.
         In my appeal I informed the Regional Director that my cell-mate had
         accepted iesponsibility for the pen that was found. in the general
         area of our cell. In my appeal I continued to deny possession of
         the contraband. I attached a written statement signed by me
         (b) Did you present Ground Three in all appeals that were av:ailable to you?
         □ Yes                          IJNo


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Continuation of facts for GROUND l.

    "On November_25, 2017 during a search of cell, 205 in unit 1A,
which is assigned to inmate Abarca, Alberto Reg. No. 14632-023, and
inmate Vazquez-Maldonado, Carlos Reg. No. 51340-018. Officer Blash
found a laundry detergent box containing several pens, pencils and
                                                        /

various papers on the desk in the common area of the cell. When
officer Blash opened the pen, he noticed the ink cartrage had an
orange substance instead of black ink. I tested the unkno"vm substance
that officer Blash found with the NIK test kit A, resulting in a
positive test for Amphetamine type compounds (orange to brown color).
I proceeded to test kit U, resulting in a positive test for
Amphetamines (burgundy color)'! I was subsequently taken to the Special
Housing Unit.
     On Decmber 5, 2017, I appeared before the Discipline Hearing
Officer, D. Cortez, with my staff representative, Maintenance Worker
Foreman C. Toombs. Mr. Toombs had met with me five (5) minutes prior
to me being shackled up and removed from my cell and escorted to where
the hearing in front of the DHO would take place. He came to my cell
and told me to .get dressed, that I would be seeing the DHO momentarily.
This was my first interaction with Mr. Toombs since I was placed in
the SHU.
     My cell-mate, inmate Alberto Abarca #14632-023 was housed with me
in the SI-fLJ. He was also my cell-mate in general population. He was
placed in the SHU as a result of SIS D. Prock writinghhim an incident
report for a violation of prohibited code #113, the same language he
used in'his report against me. I/M Abarca's staff representative was
Mr. Lyons.
     The DHO did not afford my staff representative adequate time to
speak with me.prior to the hearing or otherwise marshal evidence and
other pertinent facts. This was a violation of the Code of-Federal
Regulations§ 543.43(b)(2).
     The DHO found me guilty based upon the incident report, a Memoranda
submitted by Correctional Officer A. Blsch (dated 11-25-17)~ and SIS
Technician D. Prock (dated 12-07-17).
     Additionally, th2 DI-IO did not provide a copy of the investigation
and other relevant materials to my staff representative for use on my
behalf. This was a violation of the Bureau of Prisons Program Statement
SL,,·-1(\
       V •
           u~ 0J'   ,~l--,n,,·i--e-
                    ._.tia1-1:,.,.   .J..
                                            2   ~



           BOP offic:i.e:1s faiied in their constitutional obligation to provide

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Continuation of facts for GROUND 1.

me assistance, in good faith and in my best interests, by not allowing
my staff representative ample time to marshal evidence and prepare and
present a defense on my behalf. I was disabled, for example I had been
confined full-time to the SHU, thus my ability to help myself had been
extremely reduced. The DHO denied me due process when he held a·
discipline hearing wtthiri five,(5) minutes after my staff representative
met with me and told me to "get dressed." This is in contravention of
Wolff v. McDonnell, 418 U.S. 539~ 564, 570 (1974).
     I was prejudiced by such actions. Had my staff representative
been provided with the investigation and other releant iTiaterials
"PRIOR TO THE HEARING BEFORE TI:IE DHO", after reviewing/them and upon
further investigation on his own, he would have learned that the NIK
test is not designed to be used in testing liquid samples. See
Attachment A to this §2241 motion. Furthermore, my staff representative
would have learned that the choice of paper used in utilizing the NIK
test is critical. He would have learned that brown paper, hand towels
or newsprint paper is NEVER to be used. See Attachment A to this§ 2241
motion. My staff represent~tive, had he been given time to actually
assist me, could have presented all this to the DHO and he could have
also argued that the liquids in.the pens is never .actuaHy DRY.
     In any event I was not given such an opportunity.




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Continuation of fact for GROill'-11D 2.

     We both appeared approximately around 8:00 a.m. before the DHO.
My cell-mate stated in his appeal to the Western Regional Office that
he attended his hearing before the DHO on 12-05-17. I/M Abarca
reiterated that fact in his appeal to the General Counsel. i stated
that I attended the hearing before the DHO on 12-05-17 in my BP-10
(appeal to the Western Regional Office) and I reiterated such fact in
my own appeal to the General Counsel.
     The DHO's written statement detailing the evidence he relied upon
to support the reasons for the disciplinary action he took against me
demonstrates.bias. AFTER me and my staff .representative were dismissed
from the hearing before the DHO, he then contacted S.I.S. D. Prock and
had him draw up a memoranda. This occurred two days after me and rriy
staff representative appeared before the DHO. DHO Cortez then drew up
his report on information he asked s.r.s. to provide him after he
dismissed me and my staff representative. He did not call us back to a ·
future hearing and he did provide such materials (SIS Report.dated
12-07-17) to my staff representative later on. Instead he justified
his own investigation by having the S.I.S. submitt a report/memo and
ultimately relied on such even though it was submitted after the fact
that the hearing was over and I could not contest such evidence.
      It is no coincidence that myself, I/M Abarca and both of our.staff
representatives can all confirm we all attended the hearing before the
DHO on December OS, 2017. It is no coincidence that the DHO Cortez
falsified the date of the hearing before him. It is no coincidence
that/S.I.S. D. Prock completed a memoranda on the date the DHO contacted
him AFTER I appeared before the DHO.
     The Bureau of Prison Officials have evidence in their possession
that will absolutely remove any doubt this Court may hold about DHO
Cortez exihibting bias during the adjudication procedures, I am in
advance requesting this court to order the expansion of the record to
include materials relevant to determining the merits of my§ 2241
Motion as it relates to this GROUND and Ground THREE. This includes,
but is not limited to:
             1. Camera/video footage of when I attended my hearing
                before the DHO;
             2. Camera/video footage of when my cell-mate, I/M Abarca
                attended his hearing before the DHO;


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Continuation of facts for GROUND 2.

            3. Any emails or other electronic correspondances between
               the DHO and the S.I.S.;
            4. Any emails or otherelectronic correspondances Mr. Toombs
               or fvir. Lyons received informing them that their_presence
               was needed before the DHO;
            5. Any computer logs showing when such data, concerning
               myself and my cell-mate; surrounding the incident:in
               question and All mentioned staff involved, was actually
               entered into the corni;>uter.
     After the examined order documents arereviewed by this court, I'm
requesting the presiding assigned Judge to allow both parties to argue
whether an evidentiary hearing is required.




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Continuation of facst for GROUND 3
my cellmate I/M Alberto Abarca, Reg. No. 14632-023.
     I informed the Regional Director that the DHO's report dated
December 20, 2017 was in error that I attended the hearing on Decem-
ber 07, 2017.   I stated that I attended the hearing on December 05,
2017 at 8:15 a.m.    I took issue with the fact that the DHO did not
have the S.I.S. 's·report as it was not available on December 05,
2017. I took issue with the fact that the DHO held my silence against
me for not making a statement tp the SIS or the Uhit Discipline
Committee (UDC).    I requested for the pen to be retested. Lastly
I pointed out in my appeal that my staff representative claim to,me
that he had only been notified (ive (5) minutes,,before the hearing
was to take place, ~I:po~ed the question and a comment :

In policy, a staff representative is to review evidence, talk to
witn~sses, and gather stat~ments ; how can this all be done in a
five minute window?

        The Regional Director denied my administrative remedy appeal,
No. 926870-Rl.
     On or about January 8, 2017, my cellmate submitted his BP-10
to the Wes.tern Regional_ Office, from the December 7, 2017 hearing
decision of DHO Cortez regarding incident report no. 3060266.                  The
Western Regional Office received his BP-10 on or about February 8,
2018.     In I/M Abarca's administrative remedy appeal              he stated 6 r
reasons for releif.      One of the reasons, the first and foremost,
he stated for relief was that there w~s no hearing on 1-7-2017 as
indicated by the DHO in his report.          Abarca stated that the hearing
of the charge actually took place on 1-5-2017 and that it appears.
someone falsified the date of the hearing to make it look like
evidence offered by the S.I.S. on 1-7-2017 was considered on 1-5-2017
when it in fact wasn't.         It should be noted that Abarca is stating
the month of January in his regional appeal but, in truth and in fact,
he·means December.      Essentially he is leaving out the number 2 behind
the number 1.     In any eveht, Abarca informed the Regional Director
that his staff representative verified the hearing date through
an e-mail that was sent to him by Mr. Cortez.                 Abarca is apparently
referring to a conversation that took place with Mr. Lyons after
the DHO provided us his report.
        On May 10, 2018, Mary M Mitchell, the Regional Director,




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Continuation of facts for GROUND 3

denied I/M Abarca's appeal. · Just as in my appeal to her, she did
the same thing to my cellmate and never addressed our tlaim~ that
we did not atterid the hearing before the DHO on December 7, 2017 but
we in truth and in fact attended the hearing on December 5, 2017.
The Warden~S Office here at FCI Sheridan received the response from
the Regional Director on June 7, 2018.
        On May ©ill, 2018 I~submitted a BP-11, central office admini~~~ ·
strative remedy appeal to the General Counsel.                  On May 10, 2018,
The General Counsel received my appeal.              I reiterated in my BP-il
that I did not attend a hearing before the DHO as he states in his
report,, .on December 07, 2017.        I stated, again, that my hearing
took place on December 5, 2017.           I stated to the Geneial Counsel
that my staff representative did not have achance to review all the
evidence on December 5 because the S.I.S. did not submit his report
until December 7.      I told the general counsel their:,office can
ask my staff representative Tooms (Maintenance foreman)                   what was
said during the hearing and when the events occurred.                  I informed
the General Counsel that my cellmate Abarca claimed the pen with
the alleged contraband was his and I referred them to my BP-10
so they couid see his siatement. I also brought to their attention
that Abarca also claim the pen was his in his BP-10, appeal no.
930834-R2.     I also attached an unsworn declaration, under the pains
and penalty of perjury that I attended the hearing before the DHO
on Dec~mber 5, 2017 with my staff representative.                  I stated that my
staff representative ~~t with me five minutes before the he~ring .
        On June 12, 2018, Ian Connors, the Administrator of the
National Inmate Appeals denied my BP-11.              He stated in pertinent
part:


The DHO's decision was based upon the evidence detailed in Section V
of the DHO report. We find the determination of the DHO is reasonable
and supported by the evidence. Your due process rights were upheld
during the discipline process.
The General Counsel, never addressed my issue that I did not attend
the hearing before the DHO on December 7, but that I in truth and
in fact attended the hearing on December 5, 2017, with my staff
representative, who met with me five minutes before the hearing.




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Continuation of Facts for Ground 3


     The WardenU;::Office received the BP-11 response on June 27,
 2018.  .
     On Jurie 14, 2018 I/M Abarca submitted his BP-11 to the General
Counsel~ The General Counsel received his BP-11 on June 18, 2018.
They assigned his appeal case No. 930834-Al.
Inmate Abarca reiterated his arguments he previously submitted in
his BP-10 to the Regional Director. On August 10, 2018 The General
Counsel granted his request for a rehearing.   In their response
they state in pertinen~ part:

For Relief, you request a rehearing.

A review of your appeal reveals questions concerning the disciplinary
process. Accordingly, your appeal is being returned to the
institution for appropriate action. You will be advised regarding
further proceedings in this matter. Upon a final determination,
you will be afforded the opportunity to file a new appeal if you
desire.

To this extent, your appeal is partially granted.


    The Warden's Office here at FCI Sheridan received the General
Counsel's response on September 11, 2018.

     The General Counsel denied me relief· from DHO's Cortez finding;:
o~ guilt but granted my cellmate relief, despite fue and hifu.being,
not just similarly situated, b~t exactly situated. My cellmat~ even
stepped up as a true man and claimed responsibility and rightfully
so that the pen was his.

     The Bureau of Prisons Officials (mainly the General Counsel)
have evicence in their possession that will absolutely support my
claim that I was denied equal protection as well as fair and
impartial treatmeBt during the adjudication of my BP-11, and even
potentially for that matter my BP-10.   I am in advance requesting
this Court ·to order the expansion of the record to include materials
relevant to detetmining the merits of my§ 2241 Motion as it relates
to this Ground. This include~ but is not limited to:

 1. Any inve~tigative material that the Regional Director dis~overed_
 during my BP-10 and I/M Ab~rca's BP-10; and

2. Any investigative material that the General Counsel Discovered
during the adjudication of my BP-11 as well as I/M Abarca's BP-11,

  After the·examined ordered documents are reviewed by this Court
· 'in camera' I'm requesting the presiding assigned Judge to allow
  both parties to argue whether an evidentiary hearing is required.



                                PAGE 14'.
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A0242(12/ll) Petition fora Writ of Habeas Corpus lJndcl"28 U.S.C. § 2241

       GROUND FOUlc



                                              N/A       .
         (a) Supporting facts (Be brief. Do not cite cases or law.):




         (b) Did you present Ground Four in all appeals that were available to you?
         □ Yes                         □ No


14.      If there ar~ any grounds that you did not present in all appeals that were available to you, explain why you did·
         not:      Ground One and Ground two I subm.itted, iri this :2241 motion
            th::>ugh all I did was elaborate more ori those particular issues.
            I did not submit ground three because it was not factually
            ~~veloped._ This ·.:.claim _is a claim that arose after . .th§_ fact
        •-.-~nd after~the submlssiori of my appeais were submitted arid denied.
            In my reconsideration l~tertfotR~tachment B though I made such
            a claim.                    eques or e e
                                                '                                                               .

15. Stateexactlywhatyouwantthecourttodo:                         I wish for the Court to expunge tp.e
  incident report because the SIS report dated December 7, 2017 could
  not have been c9nsidered at the actual hearing.on December 5, 2017.
  Unfortunately, the DHO participated in an investigation that occurred
  after the actual hearing, 2 days later, and then tailored his
  report to match the SIS report that was submitted after the fac_t. · The
. appearance of bias is far too great to simply chop my situation up to
  a mere mi~hap~ Actual-bias should be apparent as well as the harm
  I suffered as a re"sul t of such bias. The DHO found me guillityybecause
  he believed the SIS, but then something that should shock the
  conscious - he collaberrated with the SIS (referring to the DHO) and
  told him of his intentions and then the SIS completed a report on pee
  7, after the hearing ~lieady took place on Dec 5. The computer log
  could not be altered is the only reason the DHO and the SIS were found
  out otherwise there would be no proof of their conspiracy.




                                                                 PAGE-10
 <.   •
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.,.               w.:                                                   .
          AO 242 (12/l I} Pctitio11 for a. Writ of Habeas Corpus Urum 28 U.S.C. § 224 I .

                                                                 Declaration Under Penalty Of Perjury

                        If you are incarcerated, on what dat                you place this petition in the prison mail system:
                            OJ OG{W

          I declare under penalty of perjury that I am the petitioner, I have read this petition or had it read to me, and the
          information in this petition is true and correct I understand that a false statement of a material fact may'serve as the basis
          for prosecution for perjury.




          Date:
                                                                                                            Signature ofPetitioner




                                                                                            Signature ofAttorney or other autharized person, if any




                                                                                        PA~ 16
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                        ATTACHMENT A
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                                                                               190-541

                                                SYSTEM Of.
            nik®
            PUBLIC SAFETY.
                                                NARCOTICS
                                              IDENTIFICATION
                         INSTRUCTIONS FOR USE

            TEST I - LEIBERMAN'S REAGENT
            FOR: General Screening Test
            Test Function
            1-. \ This reagent system presumptively identifies several drugs
               when used "in conjunction with the other field drug .kits
               included in· t~e NIK® Club Drug Kit. This test is to be used-
               after a Brown result in Test A or a clear result in Test A
               followed by a no change result in Test G. Please refer to the
               NIK~' ldentidrug™ Chart for res□ lts ..

            How to Use Test I
            l_. Remove clip and insert into the test pack· an amount of
                powdered suspect material that would fit inside this circle.       D
                Reseal with clip and tap gently to assure material falls to.the
              . bottom ofthe pouch.
            2. With the printed side of tne test pouch facing you, break
                ampule by squeezing the center of the ampoule with the_ tips
                of the thumb ~md forefinger. Agitate gently and observe the
                color or color changes.
                                                                                                  'J
             Interpretation of Resulting Colors
             1. Refer· to the NIK'" ldentidrug™ Chart for test results.
             2. It is advisable that this test be used in 'conjunction with the
                other tests listed on the NIK0 ldentidrug™ Chart.
             3. If the resulting color(sl is not listed on the NIK~ ldentidrug1 rJ
                Chart, stop testing. The NIK® Polytesting System has not
                presumptively identified any controlled· substances.




                                           CAUTION
               A. Since these tests contain strong acids, it is· suggested that Test
                   F - Acid Nei.Jtral_izer be used after testing and before disposal.
               B. Before discarding used test ·packs, remove clip and add one
                · measure of acid neutralizer from Test F.
               C. Add slowly to prevent bubbling over.'
               D. DO NOT reseal the test pouch until effeivescence has completely
                   stopped.                                           ·
               E. Reseal pouch with clip and discard in a tamper-free disposal
                    unit.                                         ·
               F. · No attempt should be made to crusti the glass particles after the
                    ampoules are -broken,
               G. Antidote: In case of contatt, immediately .flush eyes or skin with
                    water for at least 15 minutes while removing contaminated
                    clothing and shoes. If swallowed, do not give emetics. Contact a
                    physician.                    ·                             '


                                     WARNING
              ffheseJesJsj!re. NOT _designed for.!!~.!! with ·llq_9.ia~a_!fiEJ~s:--
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                nik·
                PUBLIC SAFETY
                                             13386 International Parkway
                                             Jacksonville, Florida 32218
                                             904.485.1836 FAX: 904.741.5407
                            Case 3:19-cv-00075-AA                            Document 1                 Filed 01/14/19                Page 19 of 24




 Introduction to the                                             - Plant material - Begin testing with Test E. Use only a        Breaking the Chemical Ampoules
                                                                   few leaffragments.
 NIK PolytesUng System                                                                                                           Care should be taken when breaking the glass ampoules
                                                                  Suspected Brown or Black Tar Heroin - Begin testing            in each test. Each lest includes a plastic "harness" that
 The NIK" System of Narcotics l_dcntification is based            with Test L.                                                   serves to hold the ampoules in place and protect the
 upon a polytesting procedure whereby a suspect                                                                                  user from injury. Press firmly in the center of the
 material is subjected to a series.□!J:!rqgre~l'!eJy__ ____ .,       Liquid samples - NIK" tests are NOT designed for use        t)arness to break each ampoule. Once the glass has
 discriminating screening tests. \The r_esults of individual.J       with liquid samples. However, liquids may be tested by      broken, do NOT continue to crush the glass ampoules,
1ests m-ayoi                  a
               may notyie!ci valid result! Ho~ie;:er;  the           placing the tip of an NIK" SUBSTANCE LOADING                as a shard may puncture the pouch and result in injury.
\equeritiafresults -of seve·raftesb provide a high degree            DEVICE or a 1cm square (roughly l/2" square) piece of
 of certainty that the suspect material is in fact what the.        .paper into the liquid. Remove and allow to air dry. Place                            1--
 NIK~ Polytesting System indicates it to be.                         the dry paper into the test pack and proceed with the
  ~ ------ - - - -     --- *------·-- -- - - -      --     -. ---., ·test as instructed. The choice of paper is critical.
   Q_ngoing experinJenls are conducted with hundreds of lid! Unscented, uncolored filter paper is ideal. NEVER use
(ariil illicit chemical compounds in an elfortto eliminate.'         brown paper, hand towels or newsprint.
                                                                                                                                                           /
·, false positive results. However,,no chemical.reagent/          ·
i  system for"field us~ exists.that,is_capa~le c,telimJiiali[igt     Determining the amount of                          n
r-occasiqnaj_irivalid test resu!~- A_complcte_ forensic_._ J_.
 \la~oiaiory-woulq be requiiefto qualitatively ide_r}Jify_,:i_11I    suspec_t    material    to use
 ~~nown s~~i:!~~- s~lls\~n_!:_e. In the absence of such a
   laboratory. utilizing the NIK0 Polytesting System is your         The amount of suspect material nef:ded to make a
   best assurance that the presumptive results of a positive          successful test varies with the amount and purity of the
                                                                      material. With the exception of plant material, gelatin              ·Not here
   identification are what they appear to be.
                                                                      squares, etc., you should begm by using· the loading
   Always begin Polytcsti ng with Test A and continue from            device to collect an amount of powdered suspect
    test to test until a positive or negative result is obtained. material that would lit inside this circle:D       If the
   Tests E, L, M, N, P, Q and R are exceptions to this rule           resulting colors are too weak, use more material; ii loo
· and are designed as standalone tests.                  ·            intense, use less.                                         Interpretation of Test Results
                                                                                                                                 For any test, there are three important factors you
    EXAMPLE: Beginning with Test A, a suspect material
    sequences from orange to brown within 10 to 12
                                                                   Safety Precautions                                            should look for:
    seconds. Following the Polytesling Chart. Test U comes         Many of lhe tests in the NIK" Polytesting System
    next in sequence. A blue result in Test U confirms the         contain strong acid(sl or bases. Always inscrl a portion
    presence of Melhamphetamine. A reddish-pink or                 of Pack F (Acid Neutralizer) into the-test pack after
    negative result in Test U indicates an Amphetamine-type        testing and before disposal of the used lest pack. Once
    compound. Only by following the proper sequence of             an ampoule has been broken, no attempt should be
    tests from A to U is a positive result obtained.               made to further crush the glass or tablet remnants.

    General Polytesting Procedures                                 In the event that a lest pack or chemrcal is ingested, .
                                                                   seek immediate medical attention. If chemicals come
    Before testing can begin, it is important lo classify the      into contact with the skin or eyes. wa:;h the skin
    material using one of the classifications below:               thoroughly with soap and water. !:lush eyes with water
                                                                   and seek immediate medical attention. Call (800)
    Tablets or other hard materials - Crush a part of the          424-9300 or (202) 483-7616 to obtain ·additional              To view the colors correctly, hold the test pack roughly 2
    tablet into powder and insert into the test pouch.             safety information.                                           lo 3 cm _away from a while background. light must lilt!!r
                                                                                                                                 through the test pouch to review the desired color results.
    Capsules - Open the capsule, remove part of the powder         Store NIK" tests in a cool( dark area. Heat will speed up     Viewing test results under non-white light or over a
    and insert into the test pQuch.                                the action of the chemicals in each test, and extreme         colored surface may result in an incorrect determination
                                                                   cold will slow them down. Appropriate care shouid be          of lhe resulting color. Color results may not match the
    Powders - Insert powder directly into the test pouch           exer.cised. Do NOT store in direct sunlight. Technical        color on the pouch exactly, but should be viewed as a
                                                                   Assistance is available during business -hours at: (800)      color family. Blue is always blue, regarcll~s of whether it
                                                                   852-0300 or (904) 485-1836                                     rs dark or light.
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                                                                                                                                                                                                                                                         IMPORTANT: Follow the Polytesting flow
IDENTID.RUG™ CHART                                                                                                                                                                                                                                     chart. Do not jump from sequence to
for use with the NIKe Polytesting System                                                                                                                                                                                                           sequence; i.e. follow the arrows from one
                                                                                                                                                                                                                                                         test to ariother, noting the results.

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                        ATTACHMENT B
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 Office oLGeneral Counsel
 Bureau of Prisons
 320 First Street,· NW
 Washington, D.C. 20534
                                                                December 20,20.18

 Re: Carlos Vasquez-Maldonado
     Reg. No. 51340_-018


 To Who~ it may concern:

          I am writting this office requesting reconsideration of my
-_ Administrative Remedy No. 926870-AL On June 12,2018, this office .- L: ~ - -
  · denied my appeal related to the Dec.ember 7, 2017 hearing decision
                                                    '
    of the DHO regarding incident report no. 3060267.
          In re-consideration of this office's review of my request, I
    am asking this office to consider Administrative Remedy No. 930834-AL
    Thi_s Administrative Remedy was denied on August 10, 2018 and related
    to the December 7,2017 hearing decision of the DHO regarding incident
    report mo. 3060266. Inm~te Alberto Abarca, :Reg. No. 14632-023 filed
    the aforementioned Administrative Remedy.
              .                 .
          The incident we both appealed from involved a violation of offense
    code ·113. Both of us were found guilty, of the same exact contraband
    in the cell, by the DHO. The DHO relied upon thesarrie exact specific
    evidence when he concluded ~e were both guilt. When me and-1my.,celbmate,
    I/M Abarca appealed our decisions of the DHO, we submitted our appeals
    to Western Region: .and to this office on very closely arid similarly
                      0




    situation circumstances.
          However, this office denied my submissioµ wherein I requested
      . \            .           ~   .                  .                .          .

    Administrative Relief, but granted my'cell-mate's,,I/M Abarca. Please
    see attachments "A'' and. ''B", .. Based upon I/M Abarca' s appeal being ·:· .. :.,
    granted in part and mine being denied in full, to avoid the ·appearance
    of th~ bias. and. to avoid that I was exposed to a pr.ocedure that c,,: _.__,.
    otherwise would lead a reasonable person to believe I was not treated
    impartially or fairly, I'm requesting the DHO's decision be overturned.
          There is another reason I am suggesting such as well. As I stated
    in my unsworn declaration, I attached to. my Administrative Remedy
     this office received on May 10,2018, My hearing was held on December
    5, 2017, not December 7,2017 as noted by the DHO. For some reason
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 in my appealI
                 to this. office, such was notyconsidered, but when my
 cell:-mate, I/M Abarca stated such fact, the Adrriinistrator, Ian Conners,
 found such fact to be of significant value anr partially granted his
 appeal.
        I point such out to this office because. my attendanc~ at the DHO
hearing on December 5th and ·not December 7th is of great importance.
Why? B~cause the DHO must give~ copy of the investigation and other
 relevant materials to the inmatfs staff representative, if :i;equested,
 for use on the inmates behalf. See Program Statement 5270.09 chapter 2.
        Unfortunately, :on December 5 at 8:15, a.:m. the. S.I.S. report that
 the .DHO relied upon in making ·his determination of guilt was unavailable
 to my staff representative. Essentially, there was nothing on December
 5, 2017, for him to request as such report had not yet been pl'epared
 nor submitted .
       .In closing.,. :.I stated in my unsworn declaration completed under
 penalty of per jury, that my staff representq tive, Mr. Tooms ( the i .· · ·,_.
 Maintenance Foreman) met me five (5) minutes be.fo~e the hearing. This
 unjustly depreiv~d me.~of my right to adequate· assistance in preparing
 a defense in advance of my disciplinary hearing. See code of Federal
 Regulations·§ 541.43(b)(2).
        It is my prayer that this office wil_l re-consider and re-evaluate
 the evidence and statements put.forth in both my appeal as well as my
 cell-mate.'s appeal,_ I/M Abarca, as well as the investigation the Western
 Regional Office staff and this office staff have completed to date.
        Lastly Will you please reconsider my request for re-consideration
 on ·the grounds that the company that does the NIK test kits actually
_ins'truct the users to not test on paper. Also the Kits only have a:,
               .   .                             '
 sheif life for only one-year. We don't know whether the kit was
 expired or not,-: but. we·:do know that the SIS did put the liquid on
 paper contrary to the instructions of the testing KIT according to
  the company. If this office were to contact the SIS he could attest
                                             I


  to the fact that some of the kits have resulted in false positives.
 Please see attachment C.




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    ·r.humhl:y ask that my finding of guilt be;expungedfor-all the above
mentioned reasons.

    Respectfully submitted,


Carlos Arturo Vasquez~Maldonado
Reg No. 51340-018
Sheridan - FCI
P.O. Box 5000
Sheridan, OR 97378-5000




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